Case 22-03018           Doc 18    Filed 06/15/22 Entered 06/15/22 02:10:16                Desc Main
                                     Document Page 1 of 1

UNITED STATES BANKRUPTCY COURT

WESTERN DISTRICT OF NORTH CAROLINA


PDF FILE WITH AUDIO ATTACHMENT




22−03018
Shuford v. BJS Insurance, LLC et al




Case Type :      ap
Case Number :    22−03018
Case Title :     Shuford v. BJS Insurance, LLC et al
Audio Date\Time: 06/14/2022 10:58:08 AM




Help using this file:

An audio file is embeded as an attachment
in this PDF document. To listen to the file,
click the Attachment tab or Paper Clip icon.
Select the Audio File and click Open.




              This digital recording is a copy of a court proceeding and is provided as
              a convenience to the public. In accordance with 28 U.S.C. § 753(b)
              "[n]o transcripts of the proceedings of the court shall be considered as
              official except those made from the records certified by the reporter or
              other individual designated to produce the record."
